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                                                                                             With Ofrtces in
Karen G. Felter                                September 24,2018
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VIA ECF

Hon. Frederick J. Scullin
United States District Judge
Federal Building and U.S. Courthouse
100 South Clinton Street
P. O. Box 7255
Syracuse, NY 13261 -7345

           Re:      Doe v. Syracuse lJniversity, et al
                    Civil Aótion No.: 5: 18-CV-00496 IFJS-DEP]

Dear Judge Scullin:

          am witing for a second time to request an extension
           I                                                       of time to file papers in opposition to
defendants, motion to dismiss for failure to ìtate a
                                                       claim (Dkt. #44). The^ clurt's current order sets
                                                                                         (Dkt' # 52)' oral
plaintiffs,date to ,.rporrd to defendants'motion as Thursday, September 28,.2018.
                                                       r2,20rd. cunentl¡ plaintiffs     have filed a Third
argument on the *oiion is schedured for october
                                                                plaintifls' motion for voluntary dismissal
Amended complaint and two later fileJ pending motions -
                                                                    complaint (Dkt. # 72) - may moot or
(Dkt. # 64) and defendants, motion to strike the third Amended
                                                          the court grants plaintiffs'motion for voluntary
impact defendants, 12 (b) (6)'armotion. ipecifically,_-if
dismissal per Fed. n. civ.
                           pì @)(2), Dtt. # 44 winbe moot. Móreover, if the court denies the motion
                                                             Third Amended complaint, Dkt' # 44 will be
for voluntary dismissal as well as the motion to strike the
                                                                 both the response and reply dates as well
moot. consequently, plaintiffs request that the court adjourn
as the date for orur árg'*"nt on Dlt. #44 unt\lafter
                                                      resolution of Dkt' #'s 64 and72'

            Thank you for your assistance with this matter'

                                                  ResPectfullY,




                                                  Karen G. Felter



 cc            All Counsel of Record via ECF

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